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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION

4417 RUDDER WAY LAND TRUST,
BY: INLAND ASSETS, LLC,
TRUSTEE,

       Plaintiff,

v.                                                    Case No. 3:21-cv-40-TJC-JRK

DEUTSCHE BANK NATIONAL
TRUST COMPANY, as Trustee for
GSAMP Trust 2006-NC2, Mortgage
Pass-Through Certificates, Series 2006-
NC2,

       Defendant.


                                     ORDER

       Plaintiff has failed to show cause as to why it has not filed proof of service

of Defendant with the Complaint by September 10, 2021, as the Court ordered (Doc.

46, Endorsed Order). Therefore, this claim is dismissed without prejudice. The

Court retains jurisdiction of the case to rule on the Motion for Attorney’s Fees (Doc.

33).

       DONE AND ORDERED in Jacksonville, Florida this 15th day of

September, 2021.
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agb
Copies:

Counsel of record




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